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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                               No. CR 05-00216 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                                                                         12
                               For the Northern District of California




                                                                                v.                                                    ORDER RE MOTION TO
                                                                         13                                                           DISMISS
                                                                              RODERICK ALYN PRESCOTT,
                                                                         14                  Defendant.
                                                                         15                                                  /

                                                                         16          Counsel for the government and for Mr. Prescott are ORDERED to prepare for argument
                                                                         17   on the impact upon the motion to dismiss for improper venue of the holding that “[w]hen a
                                                                         18   defendant is charged in more than one count, venue must be proper with respect to each count”
                                                                         19   in United States v. Corona, 34 F.3d 876, 879 (9th Cir. 1994) (internal quotation marks omitted).
                                                                         20   Argument on that issue will be heard at the hearing scheduled for Tuesday, November 22, 2005.
                                                                         21          IT IS SO ORDERED.
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                                                                              Dated: November 18, 2005
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                                                                                                                                 WILLIAM ALSUP
                                                                         25                                                      UNITED STATES DISTRICT JUDGE
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